Case 1:21-mj-00622-ZMF Document5 Filed 10/07/21 Page 1of1

AO 442 (Rev. 11/11) Arrest Warrant

 

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

 

 

V. )
Cody Mattice Mae Ne 21-mj-00622
)
)
)
Defendant
ARREST WARRANT
To: — Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Cody Mattice 3
who is accused of an offense or violation based on the following document filed with the court:

 

1 Indictment  Superseding Indictment O Information © Superseding Information Mf Complaint
C Probation Violation Petition © Supervised Release Violation Petition O Violation Notice © Order of the Court

This offense is briefly described as follows:

18 U.S.C. §§ 111(a)(1) and (b)- Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon or Inflicting Bodily
Injury 18 U.S.C. § 231(a)(3)- Civil Disorder

18 U.S.C. § 1752(a)(1) and (b)(1)(A)- Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon
18 U.S.C. § 1752(a)(2) and (b)(1)(A)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a Deadly or Dangerous
Weapon

18 U.S.C. § 1752(a)(4) and (b)(1)(A) - Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or Dangerous

 

Weapon ; Zia M. Faruqui

40 U.S.C. § 5104(€)(2)(D)- Disorderly Conduct in a Capitol Building free 2021.10.05

40 ULS.C. § 5104(e)(2)(F)- Act of Physical Violence in the Capitol Grounds or Buildings > a cy

Date: 10/05/2021 19:00:20 -04'00
Issuing signature

City and state: Washington, D.C. Zia M. Faruqui, U.S. Magistrate Judge

 

 

Printed name and title

 

Return

i L

 

This warrant was received on (date) / lS) ([e/ , and the person was arrested on (date) _o/ Z/vLl
at (city and state) i4u Mimmge RD F Hic my ;

pa: 02/2) LL bp QA

Arresting officer's signature

A T dene _, Special Agent FE)

Printed name ‘and title

 

 
